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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

ABERDEEN DIVISION
VICTORIA ALDERMAN; and JOHN DOES I-V PLAINTIFFS
v. CIVIL ACTION NO. 1:20-cv-00022-GHD-DAS
THE KROGER COMPANY; and JOHN DOES I-V DEFENDANTS

ORDER GRANTING MOTION TO REMAND
Pursuant to an opinion issued this date, the Court hereby ORDERS:
(1) the Plaintiff's motion to remand this case to state court [4] is GRANTED;

(2) this cause is hereby REMANDED to the Circuit Court of Oktibbeha County,
Mississippi; and

(3) this case is CLOSED.

SO ORDERED, this, the | Wray of July, 2020.

SENIOR U.S. DISTRICT JUDGE

 
